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                                                      U.S. Department of Justice
                                                      Civil Division, Federal Programs Branch
                                                      1100 L Street NW
                                                      Washington, DC 20005



                                                    October 25, 2023
VIA ECF
Hon. Renée Marie Bumb
Chief Judge
United States District Court for the District of New Jersey
Mitchell H. Cohen Building & U.S. Courthouse
4th & Cooper Streets
Room 1050
Camden, NJ 08101

        Re: Novo Nordisk Inc. v. Becerra, No. 3:23-cv-20814-GC-JBD

Dear Chief Judge Bumb:

       Defendants in the above-captioned matter respectfully request that this case be reassigned to
Judge Quraishi under Local Rule 40.1(d).

         Judge Quraishi is currently presiding over three earlier-filed cases that present facial
constitutional challenges to the Medicare Drug Price Negotiation Program, which was created by the
Inflation Reduction Act of 2022. See Bristol Myers Squibb Company v. Becerra, No. 23-cv-3335-ZNQ-JBD;
Janssen Pharmaceuticals, Inc. v. Becerra, No. 23-cv-3818-ZNQ-JBD; Novartis Pharmaceuticals Corporation v.
Becerra, No. 23-cv-14221-ZNQ-DEA. Like those earlier-filed cases, this case also presents facial
constitutional challenges to that same statutory program. That is sufficient to justify reassignment of
this case to Judge Quraishi under Local Rule 40.1(c)-(e).

         Plaintiffs in the second- and third-filed cases—Janssen and Novartis—each noted in the civil
cover sheet attached to their complaints that the earlier-filed cases were related. See Janssen ECF No.
1-1 (identifying Bristol Myers Squibb as a related case); Novartis ECF No. 1-2 (identifying both Bristol
Myers Squibb and Janssen as related cases). In this case, under the heading “RELATED CASE(S) IF
ANY,” Plaintiffs likewise identified those three cases in an addendum to their Civil Cover Sheet,
though without explicitly acknowledging that their case should be assigned to Judge Quraishi. See
Novo Nordisk ECF No. 1-2. Plaintiffs instead explained their view that “Novo Nordisk has pleaded
different constitutional claims,” and also that “Novo Nordisk’s complaint alleges that the Centers for
Medicare and Medicaid Services’ guidance and other final agency actions are unlawful and ultra vires,”
in addition to their facial constitutional claims. Id. Defendants respectfully submit that those
distinctions are insufficient to warrant separate assignment under Local Rule 40.1(c), which
contemplates assignment of related cases “to the same Judge” “[w]henever possible.”

       For these reasons, Defendants respectfully request that this case be reassigned to Judge
Quraishi, so that it can be considered alongside the three earlier-filed cases in this district challenging
the same statutory program. Before making this request, counsel for Defendants conferred with
counsel for Plaintiffs, who asked Defendants to report their position as follows:
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                Plaintiffs take no position on this request. Plaintiffs believe that the
                Court is in the best position to decide whether a reassignment is
                appropriate and would allow for the fair and efficient resolution of the
                issues raised in Plaintiffs’ complaint. As noted on the civil cover sheet,
                Plaintiffs do not believe that this case qualifies under Local Rule 40.1
                as related to the other cases pending in this district that raise a variety
                of different claims challenging the constitutionality of the Inflation
                Reduction Act’s drug pricing provisions. Unlike those other cases, this
                case focuses on claims challenging the actions taken by the Centers for
                Medicare & Medicaid Services as applied to Plaintiffs.

Although Plaintiffs insist that their case “focuses on” certain “actions taken” by the Centers for
Medicare & Medicaid Services in implementing the Inflation Reduction Act, the first two of the four
counts in their complaint are facial constitutional challenges to the statute itself—just like the claims
in Bristol Myers Squibb, Janssen, and Novartis. That is enough to justify reassignment, regardless of the
fact that Plaintiffs here also bring two additional non-constitutional challenges to the same program.

        Dated: October 25, 2023                    Respectfully submitted,

                                                   BRIAN M. BOYNTON
                                                   Principal Deputy Assistant Attorney General

                                                   PHILIP R. SELLINGER
                                                   United States Attorney

                                                   MICHELLE R. BENNETT
                                                   Assistant Branch Director

                                                   /s/ Stephen M. Pezzi
                                                   STEPHEN M. PEZZI
                                                   Senior Trial Counsel
                                                   United States Department of Justice
                                                   Civil Division, Federal Programs Branch
                                                   1100 L Street, NW
                                                   Washington, DC 20005
                                                   Tel: (202) 305-8576
                                                   Email: stephen.pezzi@usdoj.gov

                                                   Counsel for Defendants

CC:     Hon. Georgette Castner
        Hon. Zahid N. Quraishi
        Hon. Douglas E. Arpert
        Hon. J. Brendan Day
        All counsel of record in Novo Nordisk, Bristol Myers Squibb, Janssen, and Novartis




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